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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-61969-RAR

  MODEAN KHAN,

         Plaintiff,

  v.

  BRIGHTSTAR PROPERTY
  MAINTENANCE SERVICES, INC.,

        Defendant.
  ________________________________/

                        ORDER APPROVING SETTLEMENT
                 AGREEMENT AND DISMISSING CASE WITH PREJUDICE

         THIS CAUSE comes before the Court on the parties’ Joint Motion for Court Approval of

  Settlement Agreement and for Order of Dismissal with Prejudice [ECF No. 24] (“Joint Motion”).

  Before the Court can approve a settlement of FLSA claims, it must scrutinize the settlement and

  determine that it is a “fair and reasonable resolution of a bona fide dispute over FLSA provisions.”

  Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982). If the settlement

  reflects a reasonable compromise over FLSA issues that are in dispute, the Court may approve the

  settlement “to promote the policy of encouraging settlement in litigation.” Id. at 1354. Upon

  review of the record and the parties’ documented basis for settlement of this FLSA case, including

  an award of attorneys’ fees to Plaintiff’s counsel, the Court finds that the settlement of this action

  is fair and reasonable and that the requested fee is fair and reasonable and not grossly excessive.

  Accordingly, it is hereby

          ORDERED AND ADJUDGED as follows:

         1. The Joint Motion [ECF No. 24] is GRANTED.

         2. The Settlement Agreement [ECF No. 24-1], which has been duly filed as a record of

             the Court, is APPROVED in its entirety.
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        3. The case is DISMISSED WITH PREJUDICE, and any pending motions are

           DENIED AS MOOT.

        4. The Court retains jurisdiction to enforce the terms of the Settlement Agreement.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 4th day of January, 2021.




                                                    RODOLFO A. RUIZ II
                                                    UNITED STATES DISTRICT JUDGE




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